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 8                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN FRANCISCO DIVISION

10   In re HIV Antitrust Litigation                               Case No. 3:19-cv-02573-EMC (lead case)

11                                                                [PROPOSED] ORDER GRANTING
     This Document Relates to :                                   DPPS’ MOTION TO APPROVE CLASS
12                                                                CERTIFICATION NOTICE PLAN
     KPH Healthcare Services, Inc. v. Gilead
13   Sciences, Inc. et al., 3:20-cv-06961-EMC                     Judge: Honorable Edward M. Chen

14

15          Upon review and consideration of the Motion to Approve Class Certification Notice Plan,

16   along with its supporting memorandum and exhibits (“Motion”) (ECF 1436), and the Joint Status
17   Report Regarding Class Notice, along with its supporting exhibits (“Joint Status Report”) (ECF
18
     1538), IT IS HEREBY ORDERED that the motion is GRANTED as follows:
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            1.       The Court finds that the proposed form of notice attached as Exhibit 6 to the Joint
20
     Status Report, and the proposed manner of disseminating notice outlined in the Motion, satisfy
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22   Federal Rule of Civil Procedure 23 and principles of due process and are otherwise fair and

23   reasonable. For this reason, the Court approves the proposed form and manner of notice and

24   provides the following directives regarding implementation.
25          2.       The Court appoints KCC Class Action Services, LLC (“KCC”) as the Class
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     Certification Notice Administrator to disseminate notice to the Class and process and engage in
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     follow-up communications.
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                         [PROPOSED] ORDER APPROVING CLASS CERTIFICATION NOTICE PLAN
                           USDC/NDCA No. 3:19-02573-EMC / Related Case No. 3:20-cv-06961-EMC
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 1          3.             December 16, 2022
                     By ______________________ [14 days after entry of this Order], KCC shall:
 2                          a.       cause a detailed notice substantially in the form attached as Exhibit
 3
                    2 to the Roberts Class Notice Declaration to be mailed to the last-known mailing
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                    address of each known Class Member; and
 5
                            b.       cause digital notice, consisting of the notice headline and class action
 6

 7                  website URL, to appear once each in: (1) the NAW SmartBrief; (2) Becker’s

 8                  Pharmacy Report; and (3) Pharmaceutical Commerce Direct.

 9          4.      Prior to the first dissemination of notice, whether by mail or publication, KCC shall
10
     cause a class certification website to become live with reference to applicable deadlines and links
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     to copies of the Class Certification Opinion and the Long Form Notice.
12
            5.                                 January 30, 2023
                    The notices shall list ______________________ [59 days after entry of this Order]
13
     as the deadline for opting out of the Class.
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15   IT IS SO ORDERED.
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17            December 2, 2022
     Dated: _____________________                               _______________________________
                                                                Hon. Edward M. Chen
18                                                              United Stated District Judge
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                         [PROPOSED] ORDER APPROVING CLASS CERTIFICATION NOTICE PLAN
                           USDC/NDCA No. 3:19-02573-EMC / Related Case No. 3:20-cv-06961-EMC
